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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO

  Civil Action No. 10-cv-02282-CMA-BNB

  SUSAN BRUNELLE,

                Plaintiff,

  v.

  PORTFOLIO RECOVERY ASSOCIATES, L.L.C., a Delaware limited liability company,

               Defendant.


                        ORDER DISMISSING CASE WITH PREJUDICE


           THE COURT having reviewed the Notice of Dismissal with Prejudice pursuant

  to Fed.R.Civ.P. 41(a)(1)(A)(i) and being fully advised in the premises, DOES HEREBY

  ORDER that this case is Dismissed with Prejudice, with each party to pay her or its own

  attorney’s fees and costs.



                                      BY THE COURT:



  __________________                  ____________________________________
  DATE                                U.S. DISTRICT JUDGE
